Case 1:03-cv-01266-.]DT-STA Document 37 Filed 06/13/05 Page 1 of 3 Page|D 39

Ela? F

IN THE UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE

 

EASTERN DIVISION
MARY ADK.ISSON, )
)
Plaintiff, )
)
VS. ) NO. 1-03-1266-T-An
) JURY DEMAND
ETHICON, INC., JOHNSON & JOHNSON, )
XYZ DISTRIBUTION COMPANY, and )
JoHN DOE, )
)
Defendants. )

ORDER OF DISMISSAL WITH PREJUDICE

This date came the Plaintiff and the Defendants in the captioned cause by and through their
counsel of record and stated to the Court that all issues under the original Complaint have been
resolved by way of compromise, and they j ointly request that the Court enter an Order ofDismissal
with Prejudice.

IT lS, THEREFORE, ORDERED, ADJUDGED and DECREED that the within action be
and the same is hereby dismissed with prejudice and statutory costs of this cause are taxed to the

Defendants upon which executi n may issue.

53 “’“
Entered this the 7 ' day of , 2005.

y
CY/MMY -M

JAMiW). ToDD, U.s. DISTRICT JUD\GE

 

5555-4l-CHB', Pagel

This document entered on the docket sheet In com pllance
wlth Rula 58 and,'or_?§ {a) FF¢CP on IQ~ l j - 05 /%

Case 1:03-cv-01266-.]DT-STA Document 37 Filed 06/13/05 Page 2 of 3 Page|D 40

APPROVED FOR ENTRY:

/' j
MW/V‘/
wyatt W. BUssART
At orney for Plaintiff
520 North Ellington Parkway
Lewisburg, TN 37091

%I@de%<\

"c%‘izLEs H. BARNETT, 111 _bos?zi
LISA A. HOUSTON - 20477

Attorney for Defendants, Ethicon, lnc. and
Johnson & Johnson

P.O. Box 2004

Jackson, TN 38302-2004

731-424-046]

5555-4l-CHB; PageZ

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 37 in
case l:03-CV-01266 was distributed by faX, mail, or direct printing on
June 14, 2005 to the parties listed.

 

 

Lisa A. Houston

SPRAGINS BARNETT COBB & BUTLER
312 East Lafayette St.

Jackson, TN 38302--200

Walter W. Bussart
BUSSART & l\/[EDLEY
520 N. Ellington Pkwy.
Lewisburg, TN 37091

Charles H. Barnett

SPRAGINS BARNETT COBB & BUTLER
P.O. Box 2004

Jackson, TN 38302--200

Honorable J ames Todd
US DISTRICT COURT

